Case 4:23-cr-00235-GKF “Se EATS ND/OK on 08/29/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT AUG 2 9 2023
FOR THE NORTHERN DISTRICT OF OKLAHOMA Mark C. McCarit, Clerk
U.S. DISTRICT COURT

UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No. 23-CR-235-GKF-1
FILED UNDER SEAL
ARTHUR EDWARD SUAREZ,
Defendant.

Motion to Withdraw Petition for Writ

Comes now the United States of America by and through Clinton J. Johnson,
Acting United States Attorney and Assistant United States Attorney Joel-lyn A.
McCormick and moves the Court to withdraw the petition for writ issued in this
matter. In support of this motion, the United States offers the following:

1. The petition for writ filed on August 23, 2023, is a duplicate of
petition filed August 18, 2023, and was filed in error.
For the reasons set out in this motion, the United States respectfully requests

the petition for writ be withdrawn.
Case 4:23-cr-00235-GKF Document 13 Filed in USDC ND/OK on 08/29/23 Page 2 of 2

Respectfully submitted,

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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